






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00033-CR


NO. 03-08-00034-CR






Mary Phoung Hill, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT


NOS. 61499 &amp; 61500, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



In each of these cases, appellant Mary Phoung Hill pleaded guilty and judicially
confessed to committing forgery.  See Tex. Penal Code Ann. § 32.21 (West Supp. 2007).  The court
assessed punishment for each offense at twenty-three months in state jail, to run concurrently.

Appellant's court-appointed attorney filed briefs concluding that the appeals are
frivolous and without merit.  The briefs meet the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the records demonstrating why there are
no&nbsp;arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and was advised of her right
to examine the appellate records and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the records and counsel's briefs and agree that the appeals are
frivolous and without merit.  We find nothing in the records that might arguably support the appeals. 
Counsel's motion to withdraw is granted.

The judgments of conviction are affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   May 8, 2008

Do Not Publish


